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             IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF TEXAS
                     FORT WORTH DIVISION

UNITED STATES OF AMERICA, §
                          §
v.                        §                   CRIMINAL NO. 4:20-CR-269-Y
                          §
ERIC PRESCOTT KAY (01)    §


  DEFENDANT’S FIRST AMENDED MOTION FOR JUDGMENT OF
         ACQUITTAL AND MOTION FOR NEW TRIAL

TO THE HONORABLE TERRY R. MEANS
SENIOR UNITED STATES DISTRICT JUDGE FOR THE
NORTHERN DISTRICT OF TEXAS

     COMES NOW, ERIC PRESCOTT KAY (1), Defendant, by and

through his attorneys of record, MICHAEL A. MOLFETTA and WM.

REAGAN WYNN, and, pursuant to Rules 29 and 33 of the Federal

Rules of Criminal Procedure,         les this Motion for Judgment of

Acquittal and Motion for New Trial. In support thereof, Defendant

would show the Court the following:

                       I. Procedural Background

     After the close of evidence, Defendant moved for a judgment

of acquittal arguing the evidence was insu cient to support a

verdict of guilty beyond a reasonable doubt as to both counts in

the superseding indictment as well as with regard to the “causing

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      death” allegation in Count Two. Additionally, Defendant argued the

      evidence was insu cient to establish by preponderance of the

      evidence that either of the alleged o enses were committed in the

      Northern District of Texas. This Court denied the motion. The jury

      returned verdicts of “guilty” on Counts One and Two as well as an

      a rmative      nding to the “causing death” special issue concerning

      count Two on February 17, 2022.

                     II. Standard for Ruling on Rule 29 Motion

            The standard to be employed by a trial judge in ruling on a

      Rule 29 motion is the same as that employed by an appellate court

      in determining legal su ciency of the evidence. United States v.

      Hernandez-Bautista, 293 F.3d 845, 852-53 (5th Cir. 2002). The trial

      court must determine whether “any rational trier of fact could have

      found the essential elements of the crime beyond a reasonable

      doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (emphasis in original);

      United States v. Harris, 420 F.3d 467, 470 (5th Cir. 2005);

      Hernandez-Bautista, 293 F.3d at 852-53. This Court must consider

      the evidence in the light most favorable to the government by

      drawing all reasonable inferences in support of the verdict. Id.;

      United States v. Ortega Reyna, 148 F.3d 540, 543 (5th Cir. 1998). A


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conviction must be reversed if the evidence is such that a

reasonably minded jury must have a reasonable doubt as to the

existence of any element of the crime, or the evidence gives equal

or nearly equal circumstantial support to a theory of guilt as to a

theory of innocence of the crime charged. Harris, 420 F.3d at 471;

United States v. Dean, 59 F.3d 1479, 1484 (5th Cir. 1995), cert.

denied, 516 U.S. 1082 (1996); United States v. Jaramillo, 42 F.3d

920, 923 (5th Cir.), cert. denied, 514 U.S. 1134 (1995); Hernandez-

Bautista, 293 F.3d at 853.

     In ruling on a motion for acquittal, the role of the district

judge is not to weigh evidence or to consider the credibility of the

witnesses, but rather to determine whether the government has

presented evidence on each element su cient to support a jury

verdict. United States v. Chavez, 230 F.3d 1089, 1091 (8th Cir.

2000). The court must view the evidence as a whole; it is not

limited to drawing inferences from the evidence in favor of the

verdict but must consider whether the evidence supports a theory

of innocence. United States v. Schuchmann, 84 F.3d 752, 754 (5th

Cir. 1996); United States v. Belt, 574 F.2d 1234, 1239 (5th Cir. 1978);

United States v. Harris, supra. If the evidence viewed in the light


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      most favorable to the prosecution “gives equal or nearly equal

      circumstantial support to a theory of guilt and a theory of

      innocence, the conviction should be reversed.” See, e.g.,

      Schuchmann, 84 F.3d at 754(quoting United States v. Pennington,

      20 F.3d 593, 597 (5th Cir. 1994)). The Court is required to grant a

      motion for acquittal “when the evidence viewed in the light most

      favorable to the Government is so scant that the jury could only

      speculate as to Defendant’s guilt. The test is whether a reasonably

      minded jury must have had a reasonable doubt as to the existence

      of any of the essential elements of the crime...” United States v.

      Herberman, 583 F.2d 222, 231 (5th Cir. 1978).

                 III. Rule 29 Motion for Judgment of Acquittal:
               Insu cient Evidence as to Counts One and Three

           At the close of the of all evidence, Defendant moved for a

      judgment of acquittal pursuant to FED. R. CRIM. P. 29(a). Defendant

      hereby adopts and re-urges in support of this Motion all the

      previously made factual and legal arguments made in support of

      the oral Rule 29(a) motion.

           In particular, even considering the evidence in the light most

      favorable to the Government, no reasonable juror could conclude

      the Government proved by a preponderance of the evidence that

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      any part of the agreement constituting the conspiracy or an

      a   rmative act in furtherance thereof was committed in the

      Northern District of Texas.

           Further, there was no evidence from which any rational juror

      could conclude the Government had proven beyond a reasonable

      doubt that “but for” the ingestion of a substance delivered by the

      Defendant, Tyler Skaggs would not have died.

                         VI. Rule 33 Motion for New Trial

           When considering a motion for new trial, the power of the

      Court is broader than when considering a Rule 29 motion for

      judgment of acquittal. WRIGHT, FEDERAL PRACTICE            AND   PROCEDURE,

      CRIMINAL 3d., § 553, p. 467 (citing Tibbs v. Florida, 457 U.S. 31, 37

      (1982)). In the context of Rule 33, a court may weigh the evidence

      and consider the credibility of witnesses. Id. If the Court reaches

      the conclusion the verdict is contrary to the weight of the evidence

      and that a miscarriage of justice may have resulted, the verdict is

      set aside, and a new trial granted. Id. at 468. The Fifth Circuit has

      ruled a new trial should be granted when “the evidence

      preponderates heavily against the verdict.” United States v. Sinclair,

      438 F.2d. 50, 51 n.1 (5th Cir. 1971) (quoted in United States v. Arnold,


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416 F.3d. 349, 360 (5th Cir. 2005)). A court may grant a new trial in

the interest of justice. FED. R. CRIM. P. 33(a); United States v. Arnold,

416 F.3d at 360. Any error serious enough to require reversal on

appeal is an adequate ground for granting a new trial. WRIGHT,

supra § 556, p. 530. These grounds may include instructions to the

jury. See United States v. Eastern Medical Billing, Inc., 230 F.3d.

600, 614 (3rd Cir. 2000); WRIGHT, supra § 556.

     Defendant adopts and incorporates each of the arguments

made herein in support of his Motion for Judgment of Acquittal

and re-urges them in support of his Motion for New Trial pursuant

to FED. R. CRIM. P. 33. In particular, Defendant respectfully submits

this Court should conclude the evidence preponderates heavily

against the jury’s verdict with regard to the “causing death”

allegation related to Count Two and also to the venue allegations in

both Counts One and Two.




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             Additionally, Defendant respectfully submits the Court’s

charge was erroneous.1 In the written Charge of the Court read in

open court and provided to the jury with regard to the issue of

venue relating to the 21 U.S.C. § 846 narcotics conspiracy alleged in

Count One, the Court instructed the jury inter alia:

             But in order for you to return a guilty verdict, the
             government must prove by a preponderance of the
             evidence that either the agreement or an overt act took
             place in this district, and if it fails to do so, you must nd
             the defendant not guilty. An overt act is an act
             performed to e ect the object of a conspiracy, although

1 Defendant neither objected to this portion of the Court’s written
charge nor requested any additional instruction when given the
opportunity to do so on February 16, 2022. Following conclusion of
the Government’s rebuttal closing argument, this matter was
submitted to the jury for decision at approximately 11:30 a.m. on
February 17, 2022. Shortly thereafter, the jury announced it would
be going to lunch until 1:00 p.m. and the Court recessed until that
time. During the lunch hour, while discussing the Government’s
closing argument, undersigned counsel determined the charge
should have contained language to satisfy the requirements of
Grunewald v. United States, 353 U.S. 391 (1957), and its progeny. At
approximately 1:30 p.m., undersigned counsel brought their
concerns to the attention of the Court and counsel for the
Government and requested a supplemental jury instruction. The
Court directed undersigned counsel to le a written request for
supplemental jury instructions. While undersigned counsel was in
the process of drafting the requested supplemental jury
instruction, at approximately 2:24 p.m., the jury sent out a note
announcing it had reached verdicts. Therefore, undersigned
counsel did not complete drafting or ling the requested
supplemental instruction.
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     it remains separate and distinct from the conspiracy
     itself. Though the overt act need not be of criminal
     nature, it must be done in furtherance of the object of
     the conspiracy.

     There is evidence in the record indicating that, on the

afternoon of July 1, 2019, and thereafter — subsequent to the

discovery that T.S. was deceased — Defendant engaged in the

following “acts of concealment”: (a) made allegedly false

statements to the Southlake Police Department concerning his

knowledge of T.S.’s narcotics use and the last time he allegedly saw

T.S. prior to death; (b) had several communications with “Ashley

Smith,” a person alleged to be a source of supply to Defendant for

purposes of the underlying conspiracy; and (c) allegedly had a

conversation with M.H. , a potential co-conspirator, concerning the

need to “stay together.” It is undisputed all of these alleged “acts of

concealment” were committed in the Northern District of Texas.

Further there was no evidence presented of any act in furtherance

of the alleged conspiracy occurring after the alleged “acts of

concealment.”

     During the rebuttal portion of its closing argument, the

Government argued the “acts of concealment” discussed above

could be considered by the jury to be “in furtherance of the object
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of the conspiracy” for purposes of the venue allegation related to

Count One.

       Whether acts of concealment qualify as overt acts in

furtherance of a conspiracy depends on when the acts occurred:

before or after termination of the conspiracy. See, e.g., Grunewald

v. United States, 353 U.S. 391, 400-09 (1957). To prove an act of

concealment was in furtherance even though it occurred after the

conspiracy ended, the Government must prove the existence of an

express original agreement to conceal the conspiracy. See id. at

405.

       Acts of concealment taken while the conspiracy is ongoing—

when “the successful accomplishment of the crime necessitates

concealment”—certainly may be in furtherance. See id.; United

States v. Grant, 683 F.3d 639, 648–49 (5th Cir.2012) (“E orts to

conceal an ongoing conspiracy obviously can further the

conspiracy by assuring that the conspirators will not be revealed

and the conspiracy brought to an end.”).

       The Court’s charge failed to require the jurors to determine, as

a matter of fact, if the alleged acts of concealment were

committed to facilitate an ongoing conspiracy to distribute a


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     controlled substance or merely to conceal a concluded conspiracy

     which e ectively ended on June 30 or July 1, 2019. The jurors

     should have been instructed that, if the conspiracy had ended by

     prior to the alleged “acts of concealment,” those acts could not be

     considered as being in furtherance of the conspiracy. In this

     manner, the Court erred by by not properly instructing the jury as

     to the law limiting their consideration of the alleged “acts of

     concealment.”

          In light of this error as well as the state of the evidence

     preponderating against the jury’s verdicts with regard to venue,

     this Court should      nd that the interests of justice require the

     granting of a new trial in this matter.

          WHEREFORE, PREMISES CONSIDERED, Defendant Eric

     Prescott Kay (01) respectfully prays this Court enter a judgment of

     acquittal notwithstanding the verdicts in this matter. Alternatively,

     Defendant requests the Court enter an order directing a new trial.

                                       Respectfully Submitted,

                                       /s/ Michael A. Molfetta
                                       Michael A. Molfetta
                                       California Bar Number: 151992
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                                       rw@reaganwynn.law

                                       ATTORNEYS FOR ERIC PRESCOTT KAY

                        CERTIFICATE OF CONFERENCE

          I hereby certify that on March 3, 2022, conference was held
     with Assistant United States Attorneys Lindsey Beran and Errin
     Martin and the Government is OPPOSED TO the granting of relief
     requested herein.

                                       /s/ Wm. Reagan Wynn
                                       WM. REAGAN WYNN

                           CERTIFICATE OF SERVICE

          I hereby certify that on March 10, 2022, I electronically led
     the foregoing document using the Court’s CM/ECF system, thereby
     e ecting service on attorneys of record.

                                       /s/ Wm. Reagan Wynn
                                       WM. REAGAN WYNN




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